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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §     Case No. 1:24-cr-83-TBM-BWR
                                             §
TYLER SURLA                                  §


                MOTION TO PERMIT SEAN BUCKLEY TO
                     WITHDRAW AS COUNSEL

TO THE HONORABLE JUDGE TAYLOR B. MCNEEL:

COMES NOW TYLER SURLA, DEFENDANT, and files this Motion to Permit

Sean Buckley to Withdraw as Counsel, for cause showing the Honorable Court

as follows:

   1. Defendant seeks to disengage undersigned and effectuate his
      withdrawal from this case.

   Defendant has informed undersigned that Defendant no longer wishes

undersigned to represent him in this case. It has become apparent that

Defendant and undersigned do not have a meeting of the minds regarding the

objectives of the representation going forward.

   2. Relief requested.

   Defendant respectfully requests permission for Sean Buckley to withdraw from

this case. Defendant furthermore respectfully requests a hearing on this motion.




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                                         Respectfully submitted,

                                         LAW OFFICES OF SEAN BUCKLEY, PLLC


                                         /s/ Sean Buckley
                                         Sean Buckley
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                      CERTIFICATE OF SERVICE

     I certify that I provided a copy of this Motion to Withdraw as Counsel to

AUSA Lee Smith and all parties via the ECF system on this the 19th day of

May 2025.


                                               /s/ Sean Buckley
                                               Sean Buckley




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